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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
DR. ROBERT D. HAAR, M.D.,

                           Plaintiff:

                  - against -                                        NOTICE OF APPEAL

NATIONWIDE MUTUAL FIRE INSURANCE
CO., JOHN AND JANE DOE CORPS 1-10, and                               No. 1:17-cv-05425 (LAK)
JOHN AND JANE DOES 1-10,

                           Defendants.
---------------------·-------------------------------------------x
        Notice is hereby given that the Dr. Robert D.:Haar, M.D., Plaintiff in the above-named

case, hereby appeals to the United States Court of Appeals for the Second Circuit from the Final

Judgment entered in this action on December 22, 2018, and all decisions, orders and rulings in

this action that were adverse to Plaintiff.

Dated: January 16, 2018
       Westchester, New York
                                                               Respectfully submitted,




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                                                               New York, New York 10017
                                                               Tel: (914) 402-5683
                                                               e-mail: GZimmer@GZimmerLegal.com
                                                                      Attorneys for Plaintiff
         Case 1:17-cv-05425-LAK Document 24 Filed 01/16/18 Page 2 of 2



                                CERTIFICATE OF SERVICE


        I hereby certify that on the 16th day of January, 2018, I caused a true and correct copy of
the foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF
system, which will send notification to the following attorneys of record, and is available for
viewing and downloading:

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